






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00726-CV






Christopher P. Smith, Appellant


v.


Patricia K. Detrich, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-FM-01-002973, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I ON



		Appellant Christopher P. Smith filed a motion to modify his child-support obligation
due to changed circumstances.  Appellee Patricia K. Detrich opposed his motion and filed a motion
for enforcement based on Smith's failure to pay past-due child support and court-ordered attorney's
fees from a prior proceeding.  After a hearing, the trial court denied Smith's request to reduce his
child support, found him in contempt for failure to pay past-due child support and attorney's fees,
and imposed sanctions against him.  

		Smith brings seven points of error on appeal.  He alleges first that the trial court
abused its discretion by denying his motion to modify child support because (1) the court erroneously
found him intentionally unemployed or underemployed, (2) the amount of child support ordered by
the court leaves him with insufficient resources, and (3) the court erroneously found that he has other
net resources available to him, including non-residential real estate, to use to support his children. 
Smith also asserts that the trial court erred by (1) failing to "accept [his] affirmative defense" of
payment as a defense to sanctions, (2) "creating a high burden to effect a downward modification
in child support," (3) failing to admit documents from the Texas Workforce Commission detailing
his year-long employment search efforts, and (4) imposing sanctions against him.

		We will affirm in part and dismiss the appeal in part.


FACTUAL AND PROCEDURAL BACKGROUND

		Smith and Detrich have two children together from their prior marriage.  Smith, a
career naval officer, was stationed in Florida when the couple divorced in May 1999.  Detrich, the
managing conservator, moved with the children to Austin in June 2000.  In an effort to be closer to
his children, Smith searched for an assignment near Austin, eventually securing a position at a naval
base in Corpus Christi, a transfer that Smith claims "was not career enhancing and would have
[negative] implications for future assignments."  After two years in Corpus Christi, Smith was
reassigned to Florida and also served overseas.  In 2006, he was offered a three-year deployment
overseas; desiring to be near his children, he declined the posting.  After another unsuccessful
attempt to secure a favorable assignment closer to Texas, Smith accepted an assignment to the naval
recruiting station in Austin on the condition that he retire when first eligible.  Smith retired from the
Navy on March 1, 2007.

		Smith's child-support obligation, set in 2003, is $1500 per month, which was based
on his then-current gross annual salary of approximately $100,000, or approximately $8333 per
month before adjusting for taxes.  After retirement, Smith testified that his gross monthly income
was reduced to $3027 from his naval pension, which, after adjusting for taxes, leaves $2462.48 as
his net monthly income.  In his motion to modify child support, Smith requested that his
child-support obligation be reduced to $603.06, the amount he claims is proper based on the
application of the family code's child-support guidelines to his new net resources.  See Tex. Fam.
Code Ann. § 154.125 (West 2008) (guidelines state 25% of monthly net resources is proper award
for two children when obligor has no other children).  Detrich opposed the modification and asserted
at the hearing that Smith was intentionally unemployed or underemployed because, since leaving the
Navy, he had not worked nor been enrolled in any further education or job-training classes aside
from attending a GRE (graduate school entrance exam) preparation course.  Smith testified that he
seriously considered attending law school but, at the time of the hearing, had not taken any concrete
steps toward that goal.  He also testified that he had searched for jobs but found that his training and
skills from the Navy did not transfer well to the Austin job market.  After hearing testimony from
Smith and Detrich, the trial court denied Smith's motion to modify, finding him intentionally
unemployed or underemployed.

		Before the hearing, Smith was behind on his child-support payments to Detrich and
behind on court-ordered payments to her attorney for fees taxed against him from a prior motion to
modify.  Detrich filed a motion for enforcement, requesting the court to hold Smith in contempt. 
Smith filed a motion to strike Detrich's motion for sanctions, which the trial court denied.  At the
hearing, Smith told the trial court that he paid his arrearages and presented a copy of his payment
record from the Office of the Attorney General, which the court admitted into evidence.  The court,
noting that "it is routine . . . to proceed on the motion for enforcement . . . even though the amount
has been paid up by the time of the hearing," held Smith in contempt and sentenced him to 90 days
in jail, suspended on condition that he (1) pay child support in full and on time each month, (2) pay
$5000 in attorney's fees, at a rate of $500 per month until fully paid, that Detrich incurred in
defending this motion to modify, and (3) pay any and all outstanding amount previously ordered
to&nbsp;be paid.

		Smith requested findings of fact and conclusions of law from the trial court.  The
court's amended findings of fact and conclusions of law state in pertinent part that:  (1) Smith
receives $3027.00 per month from his military retirement, $2462.48 of which is available as a net
resource, (2) Smith "testified that he has rejected employment available to him because they [sic]
offered less in salaries than he felt himself entitled to receive," (3) Smith owns non-residential real
property and has other resources available to him that he could use to support his children, (4) the
amount of Smith's net resources, including his earning potential, is significantly more (1) than what he
receives as income because he is "intentionally unemployed and/or underemployed," (5) the
requested child-support modification would not be in the best interests of the children, (6) Smith
admitted to failing to pay child support and attorney's fees as previously ordered, (7) Detrich's
attorney's fees from this legal proceeding of $5,000 were reasonable and necessary and should be
taxed against Smith.


STANDARD OF REVIEW

		On appeal, Smith asserts that the trial court abused its discretion by finding that he
was intentionally unemployed or underemployed and challenges the legal and factual sufficiency of
the evidence on which the court made its finding.  In reviewing a child-support order, our analysis
is two-pronged.  In re E.A.S., 123 S.W.3d 565, 569 (Tex. App.--El Paso 2003, pet. denied). 
First,&nbsp;we ask if the trial court had sufficient information on which to exercise its
discretion--essentially a legal and factual sufficiency review of the evidence.  Id.  After reviewing
the evidence for legal and factual sufficiency, we then ask if, given the results of our review, the
court abused its discretion.  Id.  The test for abuse of discretion is whether the trial court acted
without reference to any guiding rules or principles, i.e., whether the act was arbitrary or
unreasonable.  Worford v. Stamper, 801 S.W.2d 108, 109 (Tex. 1990) (citing Downer v. Aquamarine
Operators, Inc., 701 S.W.2d 238, 241-42 (Tex. 1985)).  When deciding if the court erred, "the
factual and legal sufficiency of the evidence are not independent grounds for appeal but are relevant
considerations" in our abuse-of-discretion review.  Goodson v. Castellanos, 214 S.W.3d 741, 756
(Tex. App.--Austin 2007, pet. denied); see also Beaumont Bank, N.A. v. Buller, 806 S.W.2d 223,
226 (Tex. 1991) ("Whether there was no evidence to support [the order] . . . would .&nbsp;.&nbsp;. be a relevant
consideration in determining if the trial court abused its discretionary authority.").  When it comes
to deciding what law applies or in applying that law to the facts of the case, the trial court has no
discretion.  Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992) (trial court's failure to correctly
analyze or apply law constitutes abuse of discretion). 

		The first part of our review requires us to evaluate the sufficiency of the evidence. 
There is legally insufficient evidence to sustain a fact-finding if the record presents one of the
following situations:


(a) a complete absence of evidence of a vital fact; (b) the court is barred by rules of
law or of evidence from giving weight to the only evidence offered to prove a vital
fact; (c) the evidence offered to prove a vital fact is no more than a mere scintilla;
[or] (d) the evidence establishes conclusively the opposite of the vital fact.



City of Keller v. Wilson, 168 S.W.3d 802, 810 (Tex. 2005).  In our review for legal sufficiency, we
consider the evidence in the light most favorable to the judgment, crediting favorable evidence if a
reasonable fact-finder could and disregarding contrary evidence unless a reasonable fact-finder could
not.  Id. at 807.  

		"A trial court's findings of fact are reviewed for factual sufficiency of the evidence
under the same legal standards as applied to review jury verdicts for factual sufficiency of the
evidence."  Ortiz v. Jones, 917 S.W.2d 770, 772 (Tex. 1996).  "When reviewing a jury verdict to
determine the factual sufficiency of the evidence, the court of appeals must consider and weigh all
the evidence, and should set aside the verdict only if it is so contrary to the overwhelming weight
of the evidence as to be clearly wrong and unjust."  Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986).
"The court of appeals is not a fact finder.  Accordingly, the court of appeals may not pass upon the
witnesses' credibility or substitute its judgment for that of the jury, even if the evidence would
clearly support a different result."  Maritime Overseas Corp. v. Ellis, 971 S.W.2d 402, 407
(Tex.&nbsp;1998).


DISCUSSION

Contempt and Sanctions

		We begin by addressing Smith's points of error two and seven, in which he complains
that the trial court abused its discretion by finding him in contempt of court for failing to pay
child&nbsp;support even though he provided proof of payment at the hearing on Detrich's motion
for&nbsp;enforcement. 

		We have concerns about the validity of the contempt order in light of subsection
157.162(d) of the family code, which states: 


The court may not find a respondent in contempt of court for failure to pay child
support if the respondent appears at the hearing with a copy of the payment record
or other evidence satisfactory to the court showing that the respondent is current in
the payment of child support as ordered by the court.



Tex. Fam. Code Ann. § 157.162(d) (West 2008); see also Act of May 25, 2007, 80th Leg., R.S.,
ch.&nbsp;1189, § 2, 2007 Tex. Gen. Laws 4054, 4054 ("The change in law made by this Act applies to a
hearing to enforce an order in a suit affecting the parent-child relationship that commences on or
after the effective date of this Act [June 15, 2007].  A hearing before the effective date of this Act
is governed by the law in effect on the date the hearing commenced, and the former law is continued
in effect for that purpose.").  The hearing in the present case commenced on October 12, 2007.

		This Court, however, does not have jurisdiction to review contempt orders on direct
appeal.  Texas Animal Health Comm'n v. Nunley, 647 S.W.2d 951, 952 (Tex. 1983); In re A.M.,
974&nbsp;S.W.2d 857, 861 (Tex. App.--San Antonio 1998, no pet.); Metzger v. Sebek, 892 S.W.2d 20,
54 (Tex. App.--Houston [1st Dist.] 1994, writ denied).  Even when a contempt order is contained
within an otherwise appealable judgment, we have no jurisdiction to review the contempt order. 
See&nbsp;In re Gonzalez, 993 S.W.2d 147, 157 (Tex. App.--San Antonio 1999, no pet.); Metzger,
892&nbsp;S.W.2d at 54.  "Contempt orders are reviewable only by original proceedings.  If a contempt
order does not involve confinement, it is reviewable by petition for writ of mandamus; if it does
involve confinement, it is reviewable by petition for writ of habeas corpus."  Nesbitt v. Nesbitt,
No.&nbsp;03-06-00025-CV, 2009 Tex. App. LEXIS 5104, at *1 (Tex. App.--Austin July 1, 2009, no pet.)
(mem. op.) (citing In re Long, 984 S.W.2d 623, 625 (Tex. 1999)).  Consequently, we lack
jurisdiction to consider Smith's points of error regarding the contempt order.


Motion to Modify

		By issues one, three, four, and five, Smith asserts that the trial court abused its
discretion by denying his motion to modify child support.  A court may, within its broad discretion,
modify an order for child support if the "circumstances of the child or a person affected by the order
have materially and substantially changed."  Tex. Fam. Code Ann. § 156.401(a) (West 2008).  In
denying Smith's motion to modify, the court stated that the "specific reason that the amount of child
support is not modified is that [Smith] is intentionally unemployed and/or underemployed."  The
court also found that "Smith owns non residential real properties and has other financial resources
available to him which could be used for the support of the children."  Section 154.066 of the family
code allows the court to consider Smith's "earning potential" if his "actual income . . . is
significantly less than what [he] could earn because of intentional unemployment or
underemployment."  Id. § 154.066.  

		Smith asserts that to find that a parent is intentionally underemployed or unemployed,
there must be evidence that the parent reduced his or her income for the purpose of decreasing his
or her child-support payments.  He cites to In re E.A.S., 123 S.W.3d at 570, and In re P.J.H.,
25&nbsp;S.W.3d 402, 405-06 (Tex. App.--Fort Worth 2000, no pet.), for support.  While we acknowledge
that some of our sister courts have held that section 154.066 requires such intent, this Court has
held&nbsp;that "'[s]ection 154.066 does not require the court to consider whether the obligor's
'voluntary&nbsp;unemployment' was for the primary purpose of avoiding child support.'"  Iliff v. Iliff,
No.&nbsp;03-08-00382-CV, 2009 Tex. App. LEXIS 5655, at *21 (Tex. App.--Austin July 21, 2009, no
pet.) (mem. op.) (quoting Hollifield v. Hollifield, 925 S.W.2d 153, 156 (Tex. App.--Austin 1996,
no writ)).  Unemployment is "but one of myriad factors a court could consider when exercising its
broad discretion to determine child support obligations."  Id.  This Court's holding in Iliff is not
inconsistent with a plain-meaning reading of section 154.066, and we decline to revisit it in this case.

		We begin our analysis by turning to the first part of the two-part test, determining if
the court had legally and factually sufficient evidence on which to base its finding that Smith was
"intentionally unemployed and/or underemployed."  Smith claims that the trial court's finding is
unsupported by the record and that he proved "conclusively to the District Court that his search for
employment has been diligent, exhaustive and was ongoing."  He notes that there was no evidence
in the record about the earning potential for individuals with his skills, qualifications, and experience
in the Austin job market.

		After reviewing the record, we conclude that there was legally and factually sufficient
evidence to support the trial court's decision.  Smith testified that he retired from the Navy
voluntarily, reducing his income from over $100,000 per year to about $36,000 per year. (2)  He had
been unemployed for at least seven months at the time of the hearing.  Smith testified that he holds
bachelor's degrees in political science and economics and is fluent in Spanish.  He also testified that
he was a naval officer for twenty-two years and that he was trained as a helicopter pilot and flew
helicopters for several years, although he has since allowed his license to lapse.  There was also
evidence that, after retirement, Smith sought jobs only in the human-resources, project-management,
and operations-management fields, yet admitted that he was not currently qualified for those jobs. 
He testified that, at least at first, he was only searching for jobs that paid about $50,000 per year. 
Furthermore, Smith testified that he felt there was no requirement for him to seek employment
beyond his retirement income.  From this evidence, the trial court could have found that Smith was
intentionally unemployed or underemployed. 

		The facts of the present case closely parallel those in In re S.B.C., 952 S.W.2d 15
(Tex. App.--San Antonio 1996, no writ).  In that case, the child-support obligor voluntarily retired
from the military and remained unemployed in preparation for law school.  Id. at 18.  The obligor
sought a reduction in child support to reflect this change in his situation.  In denying his request, the
trial court held that he was intentionally unemployed.  Id.  Affirming, the court of appeals noted that
the trial court did not abuse its discretion because there was evidence that the obligor intentionally
retired from the military, remained unemployed to prepare for law school, was physically able to
work, had undergraduate and master's degrees, and had experience as a medical lab technician.  Id. 
In the present case, there is evidence that Smith intentionally retired from the military, was physically
able to work, had undergraduate degrees, and had job experience as a naval officer, including being
trained as a helicopter pilot.  As in In re S.B.C., the trial court in the present case did not abuse its
discretion in finding Smith intentionally underemployed or unemployed.

		Smith complains that there was no evidence in the record to justify a child-support
award of $1500 per month, which, when based on the guidelines, suggests that Smith should have
$6000 per month in net resources.  See Tex. Fam. Code Ann. § 154.125 (guidelines state 25% of
monthly net resources is proper award for two children when obligor has no other children).  He
asserts that his only net income is $2462.48 from his naval pension and claims that there was legally
and factually insufficient evidence in the record to account for the difference between the $6000 per
month he is assumed to have to justify a $1500-child-support award and his actual monthly income. 
We note, however, that Smith testified about his naval salary, which would have supported a
guidelines-based award of $1500 per month.  The court could have found that Smith's retirement
from the Navy was intentional unemployment and imputed his earning potential from his previous
salary.  The trial court could have made a reasonable inference from Smith's testimony that, if Smith
had accepted different assignments with the Navy, he could have maintained or increased his
prior&nbsp;salary.

		Smith asserts that the trial court erred in finding that he had non-residential real
property and other assets that could be used to support his children.  Family code section 154.067
states that "[w]hen appropriate, in order to determine the net resources available for child support,
the court may assign a reasonable amount of deemed income attributable to assets that do not
currently produce income."  Tex. Fam. Code Ann. § 154.067(a) (West 2008).  There is some
evidence in the record to suggest that Smith owns an undivided one-half interest in land--worth
approximately $76,000 less a debt of unknown amount payable to Smith's father-in-law--that does
not currently produce income.  Although we agree with Smith that there is no evidence in the record
with which to compute a reasonable deemed monthly income, we note that the trial court's denial
of Smith's motion to modify is based only on the fact that he was intentionally unemployed or
underemployed, so whether there is sufficient evidence to support a deemed income from the land
is not dispositive.

		Smith claims that the trial court erred because it "created a high burden to effect a
downward modification in child support."  He cites to this statement by the court:


Mr. Smith, you have a heavy burden when you're asking to modify child support.  I
understand that from your viewpoint a year and perhaps originally you thought even
four years was a reasonable transition time after retiring from the military.  However,
it is not reasonable and the children cannot wait that long.  You are going to need to
broaden your job search.



Smith claims that, by saying that he had a "heavy burden," the trial court misstated the law.  We
disagree.  First, such oral comments have no import.  Moreover, section 156.401 of the family code
is discretionary; a court is not compelled to reduce Smith's child support even upon a showing of
a substantial and material change in his financial situation.  See id. § 156.401 ("[T]he court may
modify an order that provides for the support of the child . . . .").  It is left to the trial court's sound
discretion to weigh all the relevant factors when deciding (1) whether there has been a substantial
and material change, and (2) whether that change warrants a reduction in child support.  We do not
disturb the trial court's judgment absent a clear abuse of that discretion, which is not present here.

		Because we hold that the trial court did not abuse its discretion, we overrule Smith's
four issues with respect to the denial of his motion to modify.


Exclusion of Evidence

		By his last issue, Smith asserts that the court did not allow him to present evidence
at the hearing that would have documented his job-search efforts.  During the hearing, Smith offered
into evidence several documents from the Texas Workforce Commission that, he claims, "detailed
[his] year-long and ongoing employment search efforts."  He argues that the trial court's decision
to exclude these documents "caused the rendition of an improper judgment and prevented Smith
from properly presenting his case to the District Court and this Court of Appeals." 

		A trial court's evidentiary ruling will be upheld if there is any legitimate basis for the
ruling.  Owens-Corning Fiberglass Corp. v. Malone, 972 S.W.2d 35, 43 (Tex. 1998).  We review
the decision for an abuse of discretion.  Id.  To challenge the court's exclusion of evidence, the
complaining party has to present the excluded evidence to the trial court via an offer of proof or a
bill of exception.  Tex. R. Evid. 103(a), (b); Tex. R. App. P. 33.2; see also Estate of Miller,
243&nbsp;S.W.3d 831, 837 (Tex. App.--Dallas 2008, no pet.).  An offer of proof must be (1) made before
the court, but outside the presence of the jury, (2) in the presence of opposing counsel, and
(3)&nbsp;preserved on the reporter's record.  Fletcher v. Minnesota Mining &amp; Mfg. Co., 57 S.W.3d 602,
607 (Tex. App.--Houston [1st Dist.] 2001, no pet.).  If no offer of proof is made, the excluded
evidence can be preserved for appeal by filing, within 30 days of the notice of appeal, a bill of
exception.  Tex. R. App. P. 33.2(e)(1); see also Estate of Miller, 243 S.W.3d at 837.  

		Smith claims that he made a formal offer of proof to the trial court, and cites the
following exchange:


Q.	Other than what you've testified to now, is there anything else that you think
is relevant as to why the Court should consider modifying the amount of child
support?


A.	Yes.  I would like to offer to the Court a letter from the Texas Work Force
Commission employer [sic] who cites essentially that I've made an active
employment search and identifies some of the factors I've talked about here
today.


MR. TAYLOR: 	Judge, I don't think it's relevant.


THE COURT:	I'm going to sustain that objection.  It's also hearsay.  There's
no way of cross-examining that person on there.  I'll sustain
the objection.


MR. SMITH: 		It has their letterhead and from --


THE COURT:	I understand, sir.


MR. SMITH:		Yes, Your Honor.


This exchange is not an offer of proof; it is Smith's offer of documents into evidence, opposing
counsel's objection, and the court's ruling.  To preserve error, Smith had to comply with rule of
evidence 103(a)(2) and make a formal offer of proof after the trial court's ruling or file a bill of
exception as described in rule of appellate procedure 33.2.  These procedures allow excluded
documentary evidence or witness testimony to be included in the record for the purposes of appeal,
which is critical because this Court cannot review excluded evidence if it is not in the record. 
Because the documents at issue here were not made part of the record, there is no way for us to
determine whether the trial court erred by excluding them, nor to determine whether any error was
harmful.  See Tex. R. App. P. 33.1(a)(1)(B) (prerequisite to presenting complaint to appellate court
is to comply with Texas Rules of Evidence).

		Because Smith failed to preserve his evidentiary objection for appellate review, we
overrule this issue.


CONCLUSION

		This Court lacks jurisdiction to review the contempt order; therefore, we dismiss
Smith's appeal as to issues two and seven.  Because he failed to preserve his evidentiary objection
for appeal, we overrule Smith's sixth issue.  Because the trial court did not abuse its discretion when
it denied Smith's motion to modify child support, we overrule Smith's issues one, three, four, and
five and affirm the portion of the order denying his motion to modify. 

											




						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed in part; Dismissed in part

Filed:   January 13, 2010
1.   The actual text of the court's finding of fact number five is:  "The amount of obligor's net
resources, including the earning potential[,] is significantly less than what the obligor receives as
income.  The specific reason that the amount of child support is not modified is that obligor is
intentionally unemployed and/or underemployed." (Emphasis added.)  We infer from the context that
the court meant to use the word "more" instead of the word "less" and that its failure to do so was
a scrivener's error.  Neither Smith nor Detrich noted the error in their briefs, and both argue this
appeal as if the court had written "more."  We assume that the court's finding is consistent with
section 154.066 of the family code.  See Tex. Fam. Code Ann. § 154.066 (West 2008) ("If the actual
income of the obligor is significantly less than what the obligor could earn because of intentional
unemployment or underemployment, the court may apply the support guidelines to the earning
potential of the obligor.").  In addition, the finding is nonsensical as written.
2.   The record suggests that Smith's retirement and move to Austin was prompted primarily
by his desire to live closer to his children.  His motivation for voluntarily reducing his income is but
one factor the trial court could consider when deciding whether to grant Smith's motion to modify. 
See Iliff, 2009 Tex. App. LEXIS 5655, at *21.


